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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS

 LUXOTTICA OF AMERICA INC.,

                                Plaintiffs,
                                                    Civil Action No. ____________
                       -vs-

 BRAVE OPTICAL, INC., JEFFREY GRAY
 AND DAWN GRAY

                                Defendants.

                              ORIGINAL VERIFIED COMPLAINT

       Plaintiff Luxottica of America Inc. (“Luxottica”) files this Original Verified Complaint

against Defendants Brave Optical, Inc., Jeffrey Gray, and Dawn Gray (collectively “Brave Optical

Parties”) and would show as follows:

                                        INTRODUCTION

       1.      This lawsuit arises from the violation of intellectual property rights of Luxottica of

America Inc. by the Brave Optical Parties’ ongoing unauthorized use and display of Luxotica’s’s

valuable trademarks and service marks in connection with a retail optical store located at 1713

Preston Rd., Ste. A, Plano, Texas 75093, Pearle Vision store #8655 (“Park and Preston Store” or

“Store”) following the expiration of Defendants’ franchise agreement with Luxottica for the Store.

Through this action, Luxottica seeks to address Defendants’ activities and to protect unknowing

consumers from believing they are doing business with a Luxottica franchise store.

                                              PARTIES

       2.      Plaintiff Luxottica of America Inc. is an Ohio corporation doing business in Texas

and authorized to do business in Texas.




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       3.      Defendant Brave Optical, Inc. (“Brave Optical”) is a Texas corporation, and may

be served through its registered agent, Jeffrey Gray, at 6579 Mountain Sky Road, Frisco, Texas

75034, or wherever he may be found.

       4.      Defendant Jeffrey Gray is an individual residing in the State of Texas who may be

served at 6579 Mountain Sky Road, Frisco, Texas 75034, or wherever he may be found.

       5.      Defendant Dawn Gray is an individual residing in the State of Texas who may be

served at 6579 Mountain Sky Road, Frisco, Texas 75034, or wherever she may be found.

                                JURISDICTION AND VENUE

       6.      This is an action for unfair competition and trademark infringement arising under

certain United States statutes, namely 15 U.S.C. § 1114 and 15 U.S.C. § 1125 (§§ 32 and 43 of the

“Lanham Act,” respectively).

       7.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338

because this action involves claims of unfair competition and trademark infringement arising under

15 U.S.C. §§ 1114 and 1125 (§§ 32 and 43 of the Lanham Act, respectively).

       8.      Venue is proper pursuant to 28 U.S.C. § 1391 and § 1338(a).

                                 FACTUAL BACKGROUND

A. Famous Pearle Vision Brand and Marks

       9.      Luxottica operates and franchises distinctive optical retail stores throughout the

United States under the brand “Pearle Vision.”

       10.     To identify the source, origin, and sponsorship of Luxottica’s facilities, products,

and services, Luxottica has extensively employed, caused to be advertised, and publicized

throughout the United States certain distinctive symbols as legally protected trademarks and




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service marks (the “Pearle Vision Marks”), including but not limited to those detailed in this

Complaint.

       11.       Luxottica has expended substantial time, money, and other resources in developing,

advertising, and otherwise promoting the Pearle Vision Marks. As a result, locations bearing the

Pearle Vision Marks are widely recognized and exclusively associated by consumers, the public,

and the trade as being high quality stores with high quality products sourced from Luxottica (the

“PEARLE VISION® Stores”).

       12.       Luxottica was the first to adopt and use the Pearle Vision Marks as trademarks and

service marks, and all right, title, and interest to the Pearle Vision Marks and the design, decor,

and image of Pearle Vision stores remain vested solely in Pearle Vision.

       13.       Luxottica operates and franchises PEARLE VISION® Stores using the Pearle

Vision Marks on signs, boards, posters, equipment, and other items, and in advertising to the public

through television, radio, and print media.

       14.       The Pearle Vision Marks include the following United States Federal Trademark

Registrations:

     Registration Number                      Trademark                  Good and Services

 3492219                                                           Retail optical services




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 3492222                                                            Retail optical stores




 2349286                                                            Retail optical stores



 1538542                                                            Retail optical store,
                                                                    optometric and opticians’
                                                                    services




       15.      The registrations of the Pearle Vision Marks are currently in full force and effect,

and Pearle Vision has given notice to the public of the registration of the Pearle Vision Marks as

provided in 15 U.S.C. §1111.

       16.      The registration of the Pearle Vision Marks constitutes prima facie evidence of their

validity and conclusive evidence of Luxottica’s exclusive right to use the Pearle Vision Marks in

connected with the services identified therein.

       17.      The registration of the Pearle Vision Marks also provides constructive notice to

Defendants of Luxottica’s ownership and exclusive rights to the Pearle Vision Marks.

       18.      The Pearle Vision Marks qualify as famous marks, as that term is used in 15 U.S.C.

§ 1125(c)(1).

       19.      The Pearle Vision Marks at issue in this case have been continuously used in

interstate commerce and have never been abandoned.

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       20.       Luxottica has spent many millions of dollars advertising and promoting stores,

services, and products with the Pearle Vision Marks.

       21.       The substantial investment made in the Pearle Vision Marks has resulted in

valuable goodwill for the Pearle Vision Marks and for the stores, products, and services bearing

those marks. Pearle Vision products and services have met with popular approval and, as a result

of Pearle Vision’s extensive sales, advertising, promotion, and publicity, the public is familiar with

the Pearle Vision Marks. The products and services associated with the Pearle Vision Marks are

understood by the public to be produced, marketed, sponsored, supplied by, and/or affiliated with

Pearle Vision.

       22.       Pursuant to license agreements between Luxottica and its franchisees, Luxottica

grants its franchisees a limited license and authority to use and display the Pearle Vision Marks,

but only in such manner, and at such locations and times, as are expressly authorized by Luxottica.

Pursuant to these license agreements, a franchisee is not authorized to use the Pearle Vision Marks

after the expiration or termination of its license agreement. Such unauthorized use is expressly

prohibited under the terms of all Luxottica license agreements, including the Brave Optical Parties’

license agreement with Luxottica.

B. License Agreement with Brave Optical

          i. License Agreement and Assignment and Assumption Agreement

       23.       In 2016, the Brave Optical Parties bought an optical retail store located at Park and

Preston in Plano, Texas from a former Pearle Vision franchisee, Gutman Vision, Inc. (“Gutman

Vision”), and Luxottica’s license agreement with Gutman Vision was transferred and assigned to

the Brave Optical Parties.




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        24.      Since 2016, the Brave Optical Parties have been continuously operating the Store

as a PEARLE VISION® Store using the Pearle Vision Marks, system, and corporate support and

holding themselves out to the public as a PEARLE VISION® Store.

        25.      Gutman Vision had been operating the Store under the Franchise Agreement by

and between Luxottica Retail North America Inc. and Gutman Vision, Inc. for Pearle Vision

Location #8655 (“License Agreement”). 1

        26.      On June 28, 2016, Pearle Vision, Gutman Vision, and the Brave Optical Parties

entered into an Assignment and Assumption of License Agreement (“Assignment and Assumption

Agreement”) for the Store. 2

        27.      Through the Assignment and Assumption Agreement, the Brave Optical Parties

took over all obligations and duties under the License Agreement and Ancillary Agreements with

Luxottica that had previously been the responsibility of Gutman Vision:

                 Assignment and Assumption. On the Closing Date, [Gutman
                 Vision] assigns to [Brave Optical] all of [Gutman Vision]’s right,
                 title and interest in and to the License Agreement and Ancillary
                 Agreements for the Licensed Business and [Brave Optical]
                 irrevocably and absolutely assumes each and every duty and
                 obligation of [Gutman Vision], if any, to [Pearle Vision], and hereby
                 also becomes the debtor under any Security Agreement, and in
                 furtherance thereof, grants to [Pearle Vision] a security interest in
                 the Collateral (as defined in the License Agreement), all as if [Brave
                 Optical] had been the original debtor under the Security
                 Agreement. 3

        28.      As confirmed by the Brave Optical Parties with their signatures on the Assignment

and Assumption Agreement, the Brave Optical Parties were “provided a copy of the License

Agreement, and any Ancillary Agreements, along with all amendments and schedules thereto”



1
  See Exhibit 1, License Agreement.
2
  See Exhibit 2, Assignment and Assumption of License Agreement for Park and Preston Store.
3
  Exhibit 2, para. 2(a).

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prior to closing, and they were “familiar with all obligations being assumed under the License

Agreement and Ancillary Agreements.” 4

         29.       The License Agreement grants the Brave Optical Parties the right to use Pearle

Vision’s trademarks in accordance with the License Agreements. 5 The License Agreement states:

                   The Marks are the exclusive property of Pearle Vision, and nothing
                   in this Agreement gives Franchisee any right, title or interest in or
                   to any of the Marks except as a mere privilege and license during
                   the term of this Agreement to display and use the Marks according
                   to the limitations set forth in this Agreement. 6

         30.       Luxottica’s enforcement rights and right to injunctive relief for trademark violation

are specifically detailed in the License Agreement:

                   Franchisee explicitly affirms and recognizes the unique value and
                   secondary meaning attached to the Pearle Vision System and the
                   Marks. Accordingly, Franchisee agrees that any non-compliance
                   with the terms of this Agreement, or any unauthorized or improper
                   use of the Pearle Vision Systems or the Marks will cause irreparable
                   damage to Pearle Vision and other franchisees of Pearle Vision. If
                   Franchisee engages in any non-compliance with the terms of this
                   Agreement, or in any unauthorized and/or improper use of the Pearle
                   Vision System or Marks, during or after the termination or
                   expiration of this Agreement, Pearle Vision will be entitled to both
                   temporary and permanent injunctive relief against Franchisee from
                   any court of competent jurisdiction, in addition to all other remedies
                   that Pearle Vision may have at law or in equity. Franchisee consents
                   to the entry of temporary and permanent injunctions of that type,
                   and Franchisee waives the posting of any bond by Pearle Vision in
                   connection with those injunctions. 7

         31.       The License Agreement specifically states, “Franchisee’s right to use the Pearle

Vision System and the Marks ceases immediately upon the Expiration Date or upon termination

of this Agreement.” 8


4
  Exhibit 2, para. 5(f).
5
  Exhibit 1, § 7.
6
  Id. at § 7.1(A).
7
  Exhibit 1, § 7.3.
8
  Exhibit 1, § 19.1.

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         32.       The License Agreement also provides:

                   Franchisee will at all times agree to defend, at Franchisee’s own
                   cost, and indemnify to the fullest extent permitted by law, Pearle
                   Vision, its Affiliates, successors, assigns, and designees of such
                   entity, and the respective directors, officers, employees, agents,
                   attorneys, shareholders, designees and representatives of each
                   (collectively, the “Indemnitees”) from all losses and expenses (as
                   defined below) incurred in connection with any action, suit,
                   proceeding, claim…which arises out of or is based upon any of the
                   following…Franchisee’s alleged violation or breach of any
                   warranty, representation, agreement, or obligation in this
                   Agreement. 9

         33.       “Losses and expenses” include “…costs; expenses;…attorneys’ fees; …court costs;

…compensation for damages to Pearle Vision’s reputation and goodwill…” 10

         ii. Personal Guarantees

         34.       Exhibit B to the Assignment and Assumption Agreement are contracts entitled,

“Guaranty and Assumption of Licensed Operator’s Obligations” (hereinafter, the “Personal

Guarantees”), which were executed by Dawn Gray and Jeffrey Gray individually. 11 In the Personal

Guarantees, both Dawn Gray and Jeffrey Gray agreed as follows:

                   Payment and Performance Obligations. Guarantor unconditionally,
                   absolutely and irrevocably guarantees the full and prompt payment
                   of [Brave Optical’s] obligations and liabilities to Pearle Vision
                   under any Agreement. Guarantor agrees to be personally bound by
                   and liable for the full, prompt and unconditional performance of all
                   obligations under any Agreement now owed or hereafter to be owed
                   by Licensed Operator to Pearle Vision, including without limitation,
                   any obligations of Licensed Operator under the Agreements relating
                   to transfer, indemnification, and non-competition. 12




9
  Exhibit 1, § 11.3.
10
   Id.
11
   Exhibit 2.
12
   Id.

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         iii. Non-Compete Agreements

         35.    Jeffrey Gray and Dawn Gray individually also executed Confidentiality/Covenants

Not to Compete for the Store on June 21, 2016 (“Non-Compete Agreements”). 13

         36.    The Non-Compete Agreements state:

        I further agree that I will not, either directly or indirectly, engage or participate in a
Competing Business…for a period of one year after my ownership or employment ends for any
reason and within a three (3) mile radius of the Licensed Location, except as otherwise provided
in the License Agreement. I am prohibited from engaging in any such Competing Business as a
proprietor, partner, investor, shareholder, director, officer, employee, principal, agent, advisor or
consultant thereof.

         37.    The Non-Compete Agreements also expressly contemplate injunctive relief and the

Brave Optical Parties’ payment of costs in the event of a violation:

        I acknowledge that violation of the covenants not to compete contained herein would result
in immediate and irreparable injury to Pearle Vision and Licensed Operator for which no adequate
remedy at law will be available. Accordingly, I hereby consent to the entry of an injunction
procured by Pearle Vision or Licensed Operator prohibiting any conduct by me in violation of the
terms of this Agreement. I agree to pay all costs and expenses, including reasonable attorneys’ and
experts’ fees, incurred by Pearle Vision and Licensed Operator in connection with the enforcement
of this Agreement.

C. State Court Proceeding

         38.    On July 5, 2017, the Brave Optical Parties filed a lawsuit against Gutman Vision

and its principals for alleged fraudulent misrepresentations related to the transfer of the Store,

among other causes of action, in the 101st District Court of Dallas County, Texas (“State Court

Proceeding”). 14

         39.    After Gutman Vision designated Luxottica as a responsible third party, the Brave

Optical Parties joined Luxottica as a party to the State Court Proceeding.




13
  Exhibit 2’s Exhibit A (p. 5)- Confidentiality/Covenant Not to Compete Agreement.
14
  See Jeffrey Gray, Dawn Gray and Brave Optical, Inc. v. Gutman Vision. Inc., Alex Gutman and Milana Gutman,
cause number DC-17-07929, pending in 101st Judicial District Court, Dallas County.

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        40.      On March 15, 2022, the state court issued its Order on Summary Judgment,

dismissing Luxottica with prejudice from the State Court Proceeding. 15 The Order on Summary

Judgment also awards Luxottica franchise fees owed by the Brave Optical Parties to Luxottica

through January 2022.

D. Expiration of the License Agreement

        41.      The License Agreement for the Store was originally set to expire on November 22,

2021. 16 The Brave Optical Parties requested, and Luxottica agreed, to a three-month extension of

the License Agreement. 17

        42.      On February 11, 2022, Luxottica sent a Notice of Non-Renewal of Franchise

Agreement (“Notice of Non-Renewal”) advising the Brave Optical Parties that the License

Agreement would expire on the agreed-upon date of February 28, 2022 and would not be

renewed. 18

        43.      The Notice of Non-Renewal also instructed the Brave Optical Parties to take

specific actions to comply with their obligations to deidentify as a PEARLE VISION® Store.

Those obligations expressly survive the License Agreement.

E. Use of Pearle Vision Marks After Expiration of License Agreement

        44.      Upon expiration of the License Agreement, Defendants were required to comply

with the obligations upon termination contained in Paragraph 19 of the License Agreement.

        45.      Among other actions, Paragraph 19 required the Brave Optical Parties to cease

using the Pearle Vision Marks “immediately upon the expiration date” of the License Agreement.

Though the Amendment to License Agreement to Extend Expiration Date expired on February 28,


15
   See Exhibit 3, Order on Summary Judgment.
16
   See Exhibit 1, § 1.8.
17
   See Exhibit 4, Amendment to License Agreement to Extend Expiration Date.
18
   See Exhibit 5, Notice of Non-Renewal.

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2022, the Brave Optical Parties continue to hold themselves out to the public and operate as a

PEARLE VISION® Store and use the Pearle Vision Marks.

        46.     The License Agreement also prohibits the Brave Optical Parties from promoting

themselves as either a current or former Pearle Vision franchisee, and from using any of Pearle

Vision’s trade secrets, promotional materials, the Pearle Vision Marks, or any other mark

confusingly similar. 19

        47.     Paragraph 19 of the License Agreement further requires Defendants to make any

changes or removals at the Stores immediately upon Pearle Vision’s request so as to effectively

distinguish the Stores from their former appearance and from any other PEARLE VISION® Store,

and also to transfer all telephone numbers and related directory listings to Pearle Vision. 20

        48.     The Brave Optical Parties continue to operate the Store and continue to use Pearle

Vision’s registered trademarks at the Store in express violation of the License Agreement and

Pearle Vision’s instructions in the Notice of Non-Renewal. 21

        49.     On March 25, 2022, Luxottica’s investigator visited the Store, which was open and

operating, and took the following photo showing the continued use by Defendants of the Pearle

Vision Marks:




19
   Exhibit 1, § 19.1.
20
   Exhibit 1, §§ 19.1 and 19.3.
21
   The Order on Summary Judgment in the State Court Proceeding does not include Royalty and Marketing and
Advertising Fees accrued since January 2022.

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       50.     The Brave Optical Parties are now in direct competition with Pearle Vision by

operating the Store without a License Agreement, without Luxottica’s authority, and without

paying franchise fees to Luxottica, and are in violation of their Non-Compete Agreements.

       51.     Pursuant to the Non-Compete Agreements and Section 14.2 of the License

Agreement, the Brave Optical Parties are prohibited from operating or participating in a retail

optical store or optometric office within a radius of three miles from the Store for a period of one

year following the expiration of the License Agreement.

       52.     The Brave Optical Parties are in violation of their post-termination obligations

under the License Agreement by failing to make the necessary changes and/or trademark removals

at the Store and by failing to transfer all telephone numbers and related directory and internet

listings to Pearle Vision.

       53.     The Brave Optical Parties are unlawfully using various Pearle Vision Marks in

connection with the Store’s continued operation.

F. Likelihood of Consumer Confusion and Deception

       54.     The Brave Optical Parties have not tendered to Luxottica, or removed from the

Store, all Pearle Vision signs, logos, posters, containers, fixtures, stationary, and other items

bearing the Pearle Vision Marks, name, symbols, or slogans, or which are otherwise identified

with Pearle Vision and are located at the Store.

       55.     The Brave Optical Parties’ continued use and display of the Pearle Vision Marks

or any items associated with the Pearle Vision name, symbols, or slogans at the Store is without

Pearle Vision’s license or consent, and has caused, or is likely to cause, mistake, confusion, or

deception in the minds of the public as to source, affiliation, and sponsorship.

       56.     Upon seeing the familiar Pearle Vision Marks through the Brave Optical Parties’



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unauthorized use thereof, consumers will be deceived into concluding that the products and

services sold at the Store are made or supplied by Luxottica, are prepared in the prescribed

Luxottica manner and subject to Luxottica’s supervision, are sponsored or endorsed by Luxottica,

and bear the Pearle Vision Marks pursuant to Luxottica’s authority and permission. Such

impressions are calculated to and will have a material influence on customers’ purchasing

decisions, inducing them to patronize the Store in reliance on the goodwill, reputation, and appeal

of Luxottica.

       57.      By reason of the foregoing, Luxottica has suffered damages, in an amount presently

unknown yet substantial. Luxottica no longer is the source or sponsor of the Store and does not

endorse the Store, or the products and services provided therein. Luxottica has not authorized the

Brave Optical Parties to use the Pearle Vision Marks to identify the Store, products, or services,

and has protested against such use.

       58.      By virtue of the expiration of the License Agreement, Luxottica is unable to control

the nature and quality of the goods and services that the Brave Optical Parties provide at the Store.

       59.      Luxottica will suffer serious, immediate, and irreparable harm if Defendants’

willful infringement of the Pearle Vision Marks is not immediately enjoined. Luxottica’s goodwill

and reputation will suffer drastically by virtue of the public’s identification of Luxottica with the

management and operation of the Store. Luxottica monitors and enforces strict quality control over

every phase in the marketing of Pearle Vision’s products and services, from manufacture to the

supervision of and the maintenance of strict standards as to quality and service. The carefully

nurtured image that the Pearle Vision brand now enjoys will be irretrievably injured by any

association with the Store, which is no longer subject to Luxottica’s supervision.

       60.      The Brave Optical Parties’ sale of products and services under the Pearle Vision



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Marks at the Store poses an immediate threat to the distinct, exclusive image Luxottica has created

at great expense for its franchisees. Pearle Vision stores, services, and products are known by the

Pearle Vision Marks, which are emblematic of their distinctive source. Pearle Vision stores enjoy

a special appeal to consumers which will be harmed by the existence of an infringing store selling

non-genuine products and services bearing the distinctive Pearle Vision Marks. The intangible,

but commercially indispensable, value that the Pearle Vision locations now enjoy will be severely

undermined by the operation of the Store.

       61.     Consumer confusion as to the source or sponsorship of stores bearing the Pearle

Vision Marks will be attended not only by an inevitable loss of retail store and product

distinctiveness, image, and goodwill, but will also cause a diversion of sales from Luxottica. The

economic injury to Luxottica resulting from such diversion is incalculable and, as such, is an

additional source of irreparable harm.

       COUNT I – LANHAM ACT INFRINGEMENT

       62.     Luxottica re-alleges the above Paragraphs as if fully set forth herein.

       63.     The Brave Optical Parties’ acts at the Stores constitute infringement of Pearle

Vision’s Luxottica’s registered trademarks and service marks in violation of Section 32 of the

Lanham Act, 15 U.S.C. § 1114. 67. As a result of Defendants’ violations, Luxottica is entitled to

preliminary and permanent injunctive relief, as well as monetary relief pursuant to Section 35 of

the Lanham Act, 15 U.S.C. § 1117, including, but not limited to, royalties derived from

Defendants’ sales following the expiration of their License Agreement, damages sustained by

Luxottica, the costs of this action, treble damages, and reasonable attorneys’ fees incurred herein.

       COUNT II – LANHAM ACT FALSE DESIGNATIONS

       64.     Luxottica re-alleges the above Paragraphs as if fully set forth herein.



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       65.     Defendants’ acts at the Stores and in various advertisements constitute false

designations of origin in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

       66.     As a result of Defendants’ violations, Luxottica is entitled to preliminary and

permanent injunctive relief, as well as monetary relief pursuant to Section 35 of the Lanham Act,

15 U.S.C. § 1117, including, but not limited to, royalties derived from Defendants’ sales following

the termination of their License Agreement, damages sustained by Luxottica, the costs of this

action, treble damages, and reasonable attorneys’ fees incurred herein.

       COUNT III – COMMON LAW TRADEMARK INFRINGEMENT

       67.     Luxottica re-alleges the above Paragraphs as if fully set forth herein.

       68.     Defendants’ acts at the Stores constitute unlawful trademark and service mark

infringements under the common law.

       69.     As a result of Defendants’ violations, Luxottica is entitled to preliminary and

permanent injunctive relief, as well as monetary relief, including, but not limited to, royalties

derived from Defendants’ sales following the expiration of the License Agreement, damages

sustained by Luxottica, the costs of this action, treble damages, and reasonable attorneys’ fees

incurred herein.

       COUNT IV – COMMON LAW UNFAIR COMPETITION

       70.     Luxottica re-alleges the above Paragraphs as if fully set forth herein.

       71.     Defendants’ acts at the Store constitute unfair competition under the common law.

       72.     As a result of Defendants’ violations, Luxottica is entitled to preliminary and

permanent injunctive relief, as well as monetary relief, including, but not limited to, royalties

derived from Defendants’ sales following the termination of their Franchise Agreements, damages

sustained by Luxottica, the costs of this action, treble damages, and reasonable attorneys’ fees



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incurred herein.

       COUNT V – BREACH OF NON-COMPETE AGREEMENTS

       73.     Luxottica re-alleges the above Paragraphs as if fully set forth herein.

       74.     Defendants’ continued operation of the Park and Preston Store after expiration of

the License Agreement constitutes a breach of the Non-Compete Agreements.

       75.     This breach has directly and proximately caused loss and damage to Luxottica.

       76.     Pursuant to the terms of the Non-Compete Agreements, Defendants have already

agreed that such breach would result in immediate and irreparable injury to Luxottica for which

no adequate remedy would exist, and they further consented to the entry of an injunction

compelling their compliance with those obligations.

       77.     As result of Defendants’ breaches of the Non-Compete Agreements, Luxottica is

entitled to preliminary and permanent injunctive relief, as well as monetary relief, including but

not limited to royalties from Defendants’ sales following the termination of their Franchise

Agreements, damages sustained by Luxottica, the costs of this action, treble damages, and

reasonable attorneys’ fees incurred herein.

    COUNT VI – BREACH OF PERSONAL GUARANTEES (AGAINST JEFFREY
GRAY AND DAWN GRAY)

       78.     Luxottica re-alleges the above Paragraphs as if fully set forth herein.

       79.     Pursuant to the Personal Guarantees, Jeffrey Gray and Dawn Gray unconditionally

and irrevocably guaranteed the performance of all obligations of Brave Optical, Inc., as franchisee

of the Store, to Luxottica under the License Agreement.

       80.     The failure of Jeffrey Gray and Dawn Gray to ensure compliance with the

obligations under the License Agreement constitutes a breach of the Personal Guarantees.

       81.     This breach has directly and proximately caused loss and damage to Luxottica, for

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which Luxottica seeks monetary damages and reasonable attorneys’ fees.

       COUNT VII – UNJUST ENRICHMENT

       82.     Luxottica re-alleges the above Paragraphs as if fully set forth herein.

       83.     Luxottica conferred a benefit upon the Brave Optical Parties by allowing them to

use and display the Pearle Vision System and the Pearle Vision Marks in connection with their

operation of the Stores, and by providing various other benefits under the parties’ agreements.

       84.     The Brave Optical Parties continued to retain these benefits following the

termination of their License Agreement without compensating Luxottica for any royalties derived

from their post-termination sales, where compensation would be reasonably expected and under

the circumstances where it would be inequitable for Defendants to retain such benefits without

payment to Luxottica.

       85.     At all times, Defendants had knowledge of these benefits conferred upon them by

Luxottica.

       86.     Defendants have been unjustly enriched by, and should therefore compensate,

Luxottica for royalties, advertising fees, and merchandise ordered and received post-termination

of the License Agreement.

                      DEMAND FOR ATTORNEYS’ FEES AND COSTS

       87.     The agreements at issue in this case provide that the Brave Optical Parties will pay

Pearle Vision’s attorneys’ fees and costs to bring this suit. Pearle Vision hereby demands that it be

reimbursed by the Brave Optical Parties for all costs and expenses (including attorneys’ fees)

relating to the prosecution of this action.

       88.     Additionally, Plaintiffs seeks recovery of attorneys’ fees under the Lanham Act.




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                                             PRAYER

        WHEREFORE, Luxottica demands judgment against the Brave Optical Parties as follows:

        A.      For preliminary and permanent injunctions enjoining the Brave Optical Parties, and

all persons acting on their behalf, in concert with them, or under their control, from:

        (1) manufacturing, packaging, distributing, selling, advertising, displaying, or promoting

any product or service bearing any of the Pearle Vision Marks, or any colorable imitation thereof,

at the Store;

        (2) displaying or using any of the Pearle Vision Marks to advertise or promote the sale of,

or to identify, the Store, or any product or service provided therein; and

        (3) making in any manner whatsoever any statement or representation, or performing any

act, likely to lead members of the public to believe that the Brave Optical Parties, the Store, and

the products and services provided therein, are in any manner, directly or indirectly, associated,

affiliated, or connected with, or licensed, sponsored, authorized, or approved by Luxottica.

        B.      For preliminary and permanent injunctions directing the Brave Optical Parties, and

all persons acting on their behalf, in concert with them, or under their control, to:

        (1) recall and deliver up to Luxottica or destroy all signs, banners, labeling, packaging,

advertising, promotional, display, and point-of purchase materials which bear, or make reference

to, any of the Pearle Vision Marks, or any colorable imitation of the Pearle Vision Marks;

        (2) recall and deliver up to Luxottica all copies and editions of the Manual that is in their

actual or constructive, direct or indirect, possession, custody or control, including all supplements

and addenda thereto, and all other materials containing store operating instructions, store business

practices, or plans of Luxottica;




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       (3) allow Luxottica, at a reasonable time, to enter the premises of the Stores and make

whatever changes, including removal of tangible assets, that are necessary to distinguish the

premises from their appearance as PEARLE VISION® stores; and

       (4) account and pay over to Luxottica all gains, profits, and advantages derived by the

Brave Optical Parties from their trademark and service mark infringement, breach of contract, and

unfair competition to the full extent provided for by Section 35 of the Lanham Act, 15 U.S.C.

§1117, by the License Agreement, and by the controlling principles of common law.

       C.       For money damages, plus three times additional actual damages Luxottica has

sustained by reason of the Brave Optical Parties’ trademark and service mark infringement and

unfair competition, pursuant to Section 35 of the Lanham Act, 15 U.S.C. §1117;

       D.       For punitive damages because of the willful nature of the Brave Optical Parties’

actions;

       E.       For pre-judgment interest and Luxottica’s reasonable attorneys’ fees incurred in

protecting its rights in this action in accordance with the terms of the Franchise Agreement and,

because of the willful nature of the infringement, pursuant to Section 35 of the Lanham Act, 15

U.S.C. §1117;

       F.       For an order directing the Brave Optical Parties to file with the Court, and to serve

on Luxottica’s counsel within ten days after service of any injunction or order issued herein, or

within such a reasonable time as the Court shall direct, a report, in writing and under oath, setting

forth in detail the manner in which the Brave Optical Parties have complied with such injunction

or order;




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       G.     For compensatory damages, attorneys’ fees, and costs against the Brave Optical

Parties as a result of their breaches of the License Agreement, the Personal Guarantees, and the

Non-Compete Agreement;

       H.     For all costs, disbursements, and expenses of this action; and

       I.     For all such other relief as this Court may deem just and proper.

                                            Respectfully submitted,

                                            /s/ Mary M. Melle
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                                            ATTORNEYS FOR PLAINTIFF
                                            LUXOTTICA OF AMERICA INC.




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                              VERIFICATION OF COMPLAINT
       I, David Reiter, being competent to testify, depose and state as follows:

       I am currently the Vice President of Franchise Operations with Luxottica of America Inc.

and am also a custodian of records for Luxottica of America Inc. I am authorized to act as agent

of Luxottica of America Inc. for purposes of verifying the foregoing complaint.

       I have read the foregoing Original Verified Complaint and have personal knowledge of the

contents thereof. The statements contained in the Original Verified Complaint are true and correct

based on my personal knowledge and my review of company business records that were made at

or near the time of the event or condition recorded and kept in the regular course of business of

Luxottica of America Inc. As to any matters in the complaint stated to be alleged upon information

and belief, I believe those matters to be true.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on March 28, 2022.




                                                  David Reiter




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